                               1:15-cv-01285-JEH # 80       Page 1 of 1
                                                                                                   E-FILED
                                                                  Wednesday, 02 January, 2019 01:44:17 PM
                                                                             Clerk, U.S. District Court, ILCD

                  UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF ILLINOIS
                                    ROCK ISLAND DIVISION

DANIEL M. LANGAN,                                      )
                                                       )
             Plaintiff,                                )
                                                       )
             v.                                        )      Case No. 15-CV-1285
                                                       )
CLIFFORD RASMUSSEN and KOTTKE                          )
TRUCKING, INC. a foreign corporation,                  )
                                                       )
             Defendants.                               )


                                       ORDER OF DISMISSAL

             Upon the written Stipulation of the parties filed herein, it is hereby ordered that

the above-entitled cause of action is hereby dismissed with prejudice, in bar of action,

costs paid, cause of action satisfied.

                                                   s/ Jonathan E. Hawley
                                               _____________________________________________
                                                                  JUDGE

          January 2, 2019
ENTERED:__________________




MSH/cls
35514854_1
